   Case 1:15-cv-03436-JBW-CLP Document 140 Filed 01/04/18 Page 1 of 3 PageID #: 1920




ZACHARY W. CARTER                      THE CITY OF NEW YORK                          AMATULLAH K. BOOTH
Corporation Counsel                     LAW DEPARTMENT                                             Senior Counsel
                                                                                          phone: (212) 356-3534
                                        100 CHURCH STREET                                     fax: (212) 356-3509
                                        NEW YORK, NY 10007                            email: abooth@law.nyc.gov



                                                                 January 4, 2018



      VIA ECF
      Honorable Cheryl L. Pollak
      United States Magistrate Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201

                     Re: Hector Cordero v. City of New York, et al.
                         15-CV-3436 (JBW) (CLP)
      Your Honor:

             I am a Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel of the
      City of New York, and the attorney assigned to represent defendants City of New York,
      Lieutenant Christopher Moran and Officers Hugo Hugasian, John Essig, and Peter Rubin, in the
      above-referenced matter. Defendants submit this letter respectfully requesting: (1) a brief
      extension concerning a portion of the Phase II production, from January 5, 2018 to and including
      January 17, 2018; and (2) clarification from the Court, regarding two items discussed in the
      Court’s Order dated December 13, 2017. Plaintiff takes no position concerning Defendants’
      application for an extension.

             I.      Application for an Extension

             Defendants have been working diligently to comply with the Court’s December 13th
      Order that directed Defendants to produce documents pertaining to eleven different topics, in
      connection with Phase II of the trial. To date, Defendants are prepared to produce documents
      pertaining to nine of the eleven topics by January 5, 2018, in compliance with the Court’s
      deadline. Despite our diligent efforts, however, Defendants need additional time to produce
Case 1:15-cv-03436-JBW-CLP Document 140 Filed 01/04/18 Page 2 of 3 PageID #: 1921

  documents in connection with: (1) Document Request No. 11 – “random sampling of overtime
  requests;” and (2) Document Request No. 4 – “documents reflecting the nature and outcome of
  investigations undertaken by NYPD” regarding adverse credibility determinations.
         As for documents related to Document Request No. 11, as a result of technical issues
  related to the City’s timekeeping database, CityTime, NYPD was unable to access the
  information responsive to this request for production tomorrow. In order to access information
  responsive to Request No. 11, a user with department wide city time access must access the
  system. There are not a large number of these individuals at NYPD. Once the system is accessed,
  coding language must be created for the randomized sampling, specific to the overtime requests
  and for the time limitations imposed in the Court’s Order. Upon information and belief, the
  system is now functioning and NYPD is working on compiling the sampling specific to this
  request. We expect to be able to produce these documents within the requested extension.

         Also, concerning Document Request No. 4, a search was conducted for information
  responsive to this request which resulted in hundreds of IAB entries, most of which contain
  sealed information that even the District Attorney’s Office had to move to unseal prior to
  providing it to IAB. The redaction of this information will take a significant amount of time to
  apply, which is the basis of Defendants’ extension request concerning this request. However, in
  the interim, Defendants are prepared to produce information which is responsive to Plaintiff’s
  request for the “outcomes” of these IAB investigations by tomorrow. Once the additional data is
  produced, it will be responsive to Plaintiff’s request concerning the “nature” of the investigations
  undertaken by NYPD. Tomorrow’s production will not include this later information but it can
  be provided by the requested extended deadline.

         II.     Application for Clarification

         Defendants also respectfully request additional guidance concerning the Court’s
  December 13th ruling related to Document Request Nos. 5 and 6. Document Request No. 6
  requests “all documents concerning the City of New York’s implementation of the IG Report
  recommendations.” For this request, the Court held that the Defendants must produce “data and
  analysis” during the “subject time period,” which is from 2012 to 2014. It is the Defendants
  understanding that the data to be produced is any data that NYPD, the subject City agency, could
  have relied on, in the process of implementing the IG’s recommendation. For the report dated
  April 20, 2015, Defendants’ request for data or analysis used or relied upon by NYPD in
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Case 1:15-cv-03436-JBW-CLP Document 140 Filed 01/04/18 Page 3 of 3 PageID #: 1922

  implementing the IG’s recommendation, resulted in no responsive information. Defendants
  wanted to confirm with the Court though that their interpretation of the Order for this request is
  accurate.
         As to Document Request No. 5, which requests “all documents concerning the City of
  New York’s implementation of the CCPC Report recommendations,” the Court ordered
  Defendants to produce any “statistics and data compiled or reviewed about the relevant time
  period at issue,” specifically from 2012 to 2014. The CCPC Report at issue was released in 2017
  and again, NYPD is the subject agency which would have implemented the recommendations
  from this Commission. In an effort to comply with this request, Defendants sought any statistics
  and data compiled or reviewed by NYPD, from the period of from 2012 to 2014, concerning
  NYPD’s “implementation” of the CCPC Recommendations.” The search resulted in a negative
  finding. As with Request No. 6, Defendants wanted to confirm with the Court that its
  interpretation of the Order regarding this request is accurate.
         III.    Conclusion
         As a result of the foregoing, Defendants respectfully request an extension of time from
  January 5, 2018, to and including January 17, 2018, to produce the remaining discovery for
  Phase II of trial, and respectfully request further clarification of the aforementioned sections of
  the December 13th Order, if Defendants were not correct in their interpretations.

         Defendants thank the Court for its consideration herein.

                                                                Respectfully submitted,

                                                                            /s/
                                                                AMATULLAH K. BOOTH
                                                                Senior Counsel
                                                                Special Federal Litigation Division
  To:    VIA ECF
         Harvis, Wright & Fett, LLP
         Gabriel Harvis, Esq
         Attorney for Plaintiff
         305 Broadway, 14th floor
         New York, New York 10007




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